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10                                  UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA

12   East Bay Sanctuary Covenant; Al Otro Lado;
     Innovation Law Lab; and Central American                Case No.: 3:19-cv-04073-JST
13   Resource Center in Los Angeles,
14                  Plaintiffs,
15
                    v.
16
     William Barr, Attorney General, in his official         [PROPOSED] ORDER GRANTING
17   capacity; U.S. Department of Justice; James             PLAINTIFFS’ EMERGENCY
     McHenry, Director of the Executive Office for           MOTION TO CONSIDER
18   Immigration Review, in his official capacity; the       SUPPLEMENTAL EVIDENCE AND
19   Executive Office for Immigration Review; Kevin          RESTORE THE NATIONWIDE
     McAleenan, Acting Secretary of Homeland                 SCOPE OF THE INJUNCTION
20   Security, in his official capacity; U.S. Department
     of Homeland Security; Ken Cuccinelli, Acting
21   Director of the U.S. Citizenship and Immigration
     Services, in his official capacity; U.S. Citizenship
22
     and Immigration Services; John Sanders,
23   Commissioner of U.S. Customs and Border
     Protection, in his official capacity; U.S. Customs
24   and Border Protection; Matthew Albence, Acting
     Director of Immigration and Customs
25   Enforcement, in his official capacity; Immigration
     and Customs Enforcement,
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27                  Defendants.

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     **Pro hac vice application forthcoming
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          Case 4:19-cv-04073-JST Document 57-7 Filed 08/19/19 Page 3 of 3




 1           Plaintiffs’ motion to consider supplemental evidence and restore the nationwide scope of the

 2   injunction came before this Court for consideration on August __, 2019. Upon consideration of the

 3   motion, and for good cause shown, Plaintiffs’ motion is hereby GRANTED.

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 5   Date:                                                              ____________________

 6                                                                      United States District Judge

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               [Proposed] Order Granting Mot. to Supplement the Record and Restore Nationwide Relief
                                                                            Case No.: 3:19-cv-04073
